            Case 4:05-cr-40033-JPG                       Document 376 Filed 06/07/12                            Page 1 of 5                Page ID
AO 245D                                                            #848
              (Rev. 09/11) Judgment in a Criminal Case fOr Revocations
              Sheet I



                                      UNITED STATES DISTRICT COURT
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                                                           Southern District of Illinois                                 , ,':'Ef?·           Ul'{ 0 l 2.'0••
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          UNITED STATES OF AMERICA                                        J u d gment m a r1mma ase                                                   1
                              V.                                          (For Revocation of Probation or Supervised Release) . ("~"-.J n:~: \Jr: ?:G~.If.?r-
                                                                                                                                                      . '   '(     ·I I   ,,   '
                    Shane A. Clutts                                                                                                                              " · ••vo,,,.

                                                                          Case No. 4:05CR40033-001
                                                                          USM No. 06700-025
                                                                            Judith A. Kuenneke, AFPD
                                                                                                          Defendant's Attorney
THE DEFENDANT:
ri{ admitted guilt to violation of condition(s)          as alleged below                       of the term of supervision.
0   was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ after denial of guilt
The defendant is adjudicated guilty of these violations:


Violation Number                                             Nature of Violation                                         Violation Ended
Special                            The defendant committed the offense of False Statements                            09/28/2011

Special                            The defendant unlawfully possessed cocaine                                         04/13/2012

Standard                           Defendant failed to submit monthly reports as directed

Standard                           Defendant failed to provide truthful information to probation
       The defendant is sentenced as provided in pages 2 through _ _:5::___ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untfl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notifY the court and United States attorney of material changes m
economiC circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7995                        06/04/2012

Defendant's Year of Birth:           1975

City and State of Defendant's Residence:                                                                   Stgnaturc of Judge
Murphysboro, IL 62966
                                                                            J. Phil Gilbert                                      District Judge
                                                                              \ -"'\ ./                  Name and Title of 1udge

                                                                               , (           f<'G...L-     7 £4'/ Date
                                                                                                                          7----

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1\0 2450                                                        #849
           (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet lA

                                                                                             Judgment-Page   2    of      5
DEFENDANT: Shane A. Clutts
CASE NUMBER: 4:05CR40033-001

                                                      ADDITIONAL VIOLATIONS

                                                                                                                  Violation
Violation Number               Nature of Violation                                                               Concluded
Standard                       Defendant failed to participate in a program for substance abuse testing

Standard                       Defendant failed to follow the instructions of the probation officer
               Case 4:05-cr-40033-JPG                      Document 376 Filed 06/07/12              Page 3 of 5          Page ID
 AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations #850
               Sheet 2-lmprisonment

                                                                                                  Judgment- Page     3     of      5
 DEFENDANT: Shane A. Clutts
 CASE NUMBER: 4:05CR40033-001


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 term of:
12 months 1 day




    D      The court makes the following recommendations to the Bureau of Prisons:




    o/ The defendant is remanded to the custody of the United States Marshal.
    0      The defendant shall surrender to the United States Marshal for this district:
           0    at  - - - - - - - - - 0 a.m.                 0   p.m.        on
           0    as notified by the United States Marshal.

    D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0    before 2 p.m. on
           0    as notified by the United States Marshal.
           0    as notified by the Probation or Pretrial Services Office.

                                                                 RETURN

 l have executed this judgment as follows:




        Defendant delivered on                                                       to

 at - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAl.
             Case 4:05-cr-40033-JPG                       Document 376 Filed 06/07/12                Page 4 of 5            Page ID
  AO 2450     (Rev. 09/ll) Judgment in a Criminal Case for Revocations #851
              Sheet 3 - Supervised Release
                                                                                                     Judgment-Page      4     of        5
  DEFENDANT: Shane A. Clutts
  CASE NUMBER: 4:05CR40033-001
                                                        SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
24 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  D     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  D     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted penmssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a Jaw
            enforcement officer;
  12)       th~ defendant sha}l1_1ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            w1thout the permiSSIOn of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics ana shall permit the probation officer to make such
            notifications and to confinn the defendant's compliance with such notification requirement.
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 AO 2450                                                         #852
            (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3C- Supervised Release

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 DEFENDANT: Shane A. Clutts
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                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall spend the first six months in a half-way house as directed by probation.

The defendant shall refrain from any use of alcohol.

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility or residential
reentry center. Any participation will require complete abstinence from all alcoholic beverages, illegal substances, and all
other substances for the purposes of intoxication. The defendant shall pay for the costs associated with substance abuse
counseling and/ or testing based on a capay sliding fee scale approved by the United States probation Office. Capay shall
never exceed the total costs of counseling. The number of tests shall not exceed 52 in a one year period.

X The defendant shall submit his person, residence, real property, place of business, computer, electronic communication
and data storage device or media, vehicle and any other property under his control to a search, conducted by the United
States Probation Officers and such other law enforcement personnel as the probation officer may deem advisable and at
the direction of the United States Probation Officer, at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision, without a warrant. Failure to
submit to a search may be grounds for revocation. The defendant shall inform any other residents that the premises may
be subject to a search pursuant to this condition.

X All monetary penalties, restitution and forfeitures previously imposed shall continue to remain in full force and effect.
